Case 1:23-cv-01186-AMD-JAM                 Document 56           Filed 12/16/24         Page 1 of 3 PageID #:
                                                 405


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK



 IN RE LINDT & SPRUNGLI (USA), INC.,                   Case No .. 1:23-cv-01186-AMD
 DARK CHOCOLATE LITIGATION
                                                          STIPULATIO OF DISMISSAL
                                                               WITH PREJUDICE


          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs, Luke Oralia,

Kamila Harkavy, Sarah Sherman, Cry tal Rodriguez, Jason Goldstein, Lynn Minck, MicheHe

Sturgis, Amanda Howard, James Tettenhorst, Tara Newman, and Jason Khalili individually and

on behalf of themselves, and Defendant in the above entitled action, that pursuan to Fed. R. Civ.

P. 4l(a)(l)A(ii), this action is discontinued and dismissed with prejudice, without costs to any

party as against the other. AU parties shall bear their own attorneys' fees and waive all rights of

 appeal

Dated: December 61 2024



            ~
 SULTZER & LIPARI, PLLC                           KING & SPALDING
 85 Civic Center Plaza, Suite 200                 633 West Fifth Street, Suite 1600
 Poughkeepsie NY 1260 I                           Los Angeles, CA 90071



                                                  Attorneys for Defendant

 BURSOR & FISHER, P.A.
 13 30 A venue of the Americas
 New York, NY 10019
Case 1:23-cv-01186-AMD-JAM                    Document 56   Filed 12/16/24   Page 2 of 3 PageID #:
                                                    406




                   Uh
      ~ QIiAi!ER & 1JRMY LLP
          Ian J. Mcloughlin•
          2 SeaportLn
          Boston, MA 0210.9


                                    --· ·-
               4 ,,.--;:?          ., ,
              /,½~-.!---
          MILBERG COLEMAN BRYSON
      .J>HIJ ,t,IPS GROSSMAN,.PLLC
       6905 Telegraph Road, Suite 115
       Bloomfield Hills, MI 4830,1,




          LEVI & KO JNSKY,"LLP
                            I
          55 Broadway, 4th Floor, Suite 427
      New York, NY 10006-




      LEVIN SEDRAN & BERMAN LLP
      510 Wal.But St, Suite. 500
      Philadelphia, PA 191-06-
          /    ._ ,/"\
     ,;




              M. THOMPSON
     .....-l'11ft.1~

     le ASSOCIATES, P.C.
     2142 Highland Avenue South
     Birmingham, AL, 35205
Case 1:23-cv-01186-AMD-JAM    Document 56   Filed 12/16/24   Page 3 of 3 PageID #:
                                    407



 ______________________________
    ___
     _______________
     __
 CLARKSON
    ARKSON   N LAW
               LAW FIRM PC
 22525 Pacific Coast Highway
 Malibu, CA 90265




 ______________________________
 FITZGERALD MONROE FLYNN PC
 2341 Jefferson St., Suite 200
 San Diego, CA 92110

 Attorneys for Plaintiffs
